                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
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                                              )
                                              )
                                              )        CASE NO. 3:13-00120
vs.                                           )        JUDGE CAMPBELL/KNOWLES
                                              )
                                              )
                                              )
BENITO RAYO ROSAS                             )



                                             ORDER

       Pursuant to the Court’s previous Order (Docket No. 85), the Government has filed a

Response to Petitioner’s “Petition for a Hearing to Adjudicate the Validity of Interest in the

Property Pursuant to Title 21, United States Code, Section 853(n).” Docket No. 83. In the

Response, the Government states that it has no objection to Petitioner’s request for a hearing,

upon completion of discovery in this matter. The Government seeks a period of ninety (90) days

for discovery prior to the hearing.

       Petitioner may, but is not required to, file a Reply to the Government’s Response. If

Petitioner chooses to file such a Reply, it shall be filed on or before August 11, 2014.

       IT IS SO ORDERED.




                                              E. Clifton Knowles
                                              United States Magistrate Judge




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